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        IN THE UNITED STATES DISTRICT COURT FOR TKCE1VED
                 MIDDLE DISTRICT OF ALABAMA
                                                NIB JUN 25 A '2P 51
                     NORTHERN DIVISION
                                                          DEBRA P. HACKETT. CLK
                                                            U.S. DISTRICT COURT
                                                           MIDDLE DISTRICTAL
Tommy Kendrick Williams

     Plaintiff                      CIVIL ACTION NO.
                                          ?-CA/-
                                           s     (PDa - UJKW- Sfrn FS
                                    JURY DEMAND (MARK ONE)

                                        AYES      ONO
Barbour County Sheriff
Department                  ,

    Defendant(s)

                                COMPLAINT

  1. Plaintiff(s)' address and telephone number: 270 County Road 41
     Clio.AL 36017.(334)402-)0487
  2. Name and address of Defendant(s): Barbour County Sheriff's
     Department       24 Roberton Airport DR. Clayton.AL 36016.
     L334)775-1128
  3. Place(s) of alleged violation of civil rights: 278 County Road 41
     Clio.AL 36017. and Barbour County Jail 24 Robertson Airport
     DR. Clavton. AL 36016
  4. Date(s) of alleged violation of civil rights: November 25. 2016/
     November 26. 2016 and November 30. 2016
  5. State the facts on which you base your allegation that your
     Constitutional rights have been violated. Claim 1.(11-25-16)
     Arrested for Domestic Violence while Praising GOD and his son
     Jesus Christ in my yard. DV charge dismissed by District Court
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Judge Matt Horne for no Probable Cause at Preliminary
Hearing.Plaintiff tazed in the genitalia twice durina arrest..
Claim 2. Upon arrival at Barbour County Jail Plaintiff placed in
restraint chair. solitary confinement in inhumane condition for
an extended period of time causing incontinence . Plaintiff was
denied water twice.toilet full of Feces and live wires hanging
approximately 4 feet out of inoperable Light Fixture.
Claim 3411-264 Q) Just before midnight entry was made into
solitary cell by 3 Sheriff Deputies. Plaintiff was tazed multiple
times, and severelv beaten. while two Female inmates were
allowed to watch.Plaintiff sustained injuries including Head and
Facial trauma including 1.2 inch Laceration to right scalp. Facial
contusions.facial swelling and two black eyes. Transported by
Clayton Rescue to Medical Center Barbour for treatment
including 3 staples to close laceration(Nithout anesthetic) and
CT scans of the Head and Neck.
Claim 4411-30-161 Plaintiff left cell to retreive blanket and again
tazed and beaten by Sheriffs Deputies. also "dry tazed" up and
down lower extremi ies while IvinQ in a prone position(Pictures ).
Leather Jacket sliced from Plaintiffs back,
Claim 5. Placed in solitary confinment for about 40 days and
only allowed 3 showers during that time. Denied blanket for 6
days in very cold cell. Released 01-31-17
Claim 6. Willful supression of evidence and dissemination of
false information. Onlv 1 photo of Plaintiff taken during
incarceration by Jailer with a Cell phone. it was 8 days before
first appearance to allow swelling to decrease.Clothing worn bv
Plaintiff NOT returned upon release. 1 pair of Tan. khaki Pants
and 1 black leather motorcycle Jacket. Brother was told by
Sheriff personnel that. Plaintiff "tested positive for Crack" and
false information given to news media causing several News
articles to be Published.


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 6. Relief requested:Reauest 1. Mandatory annual civil rights traininq
 for all Barbour County Sheriff personnel.
 Reauest 2. Deputies amended iob description to "find and report
 misconduct by other Deputies".
 Request 3. The commision of an all civilian review board tasked with
 investigating complaints about alleged misconduct by any Officer or
 Deputy in Barbour County Alabama.
 Request 4. $10.000.000. Dollars total for pain.suffering.mental
 trauma.lost productiviftirreversible damage to Plaintiff's reputation
 Iimitina opportunities for gainful employment.loss of productivity
 while incarcerated and Compensatory damages for Medical
 bills.bond.legal cost and Clothing not returned.




                                  Plainfff Signature
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                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                       Northem                     DIVISION



                                   CERTIFICATE OF SERVICE


     '  ,Tommy K Williams                                         ,do hereby Certify that a tame and
correct copy of the foregoing has been furnished by     Certified U.S. Mað               (manner of
service, i.e., U.S. Mail, electronic mail, etc.) on this 25 day of ....1"unc           208to:

               Barbour County Sheriffs Department




                     -2-0184
Date
